UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK.

JAMES PRICE
15801 SW 137" Ave
Miami, Florida 33177

SHERRY PRICE
243-10 138" Ave # 2F
Rosedale, NY 11422,

Plaintiffs,

- against -

UNITED STATES PROBATION SERVICES, EASTERN

DISTRICT OF NEW YORK,

Defendant.

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Civil Action
No. 22-cv-7221
(Gujarati, J.)
(Bulsara, M.J.)
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IT IS HEREBY STIPULATED AND AGREED, by and between the parties to the above-

captioned action, that this action shall be dismissed with prejudice, pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), with each party to bear its own costs, expenses, and fees; and

IT IS FURTHER STIPULATED AND AGREED that this Stipulation of Settlement may

be executed in several counterparts, and that all such counterparts and signature pages, together,

shall be deemed to be one document.

Dated: July.£, 2023
Miami, Florida

By:

JAMES E. PRICE, III
15801 SW 137" Avenue

ee

Jaxhes Price
Plaintiff Pro Se

 
Case 1:22-cv-07221-DG-SJB Document 14 Filed 07/19/23 Page 2 of 2 PagelD #: 80

Price, et al, v. U.S. Prob. Dep't, E.D.N.Y., No, 22-cy-7221 (Gujarati, J.) (Bulsara, M.J.)

Dated: July 9, 2023
Rosedale, New York

By:
Dated: July 9, 2023
Brooklyn, New York
By:

Page 2

SHERRY PRICE
243-10 138" Avenue, Apt. # 2F
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Sherry Price UJ
Plaintiff Pro Se

 

BREON PEACE

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Eastern District of New York
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